Case 1:19-cv-00169-LEK-KJM Document 36 Filed 08/07/19 Page 1 of 1                  PageID #: 293

                                  MINUTE ORDER



   CASE NUMBER:            CIVIL NO. 19-00169LEK-KJM
   CASE NAME:              Venice PI, LLC, et al. Vs. Doe 1 doing business as YIFY, et al.



         JUDGE:      Leslie E. Kobayashi           REPORTER:

         DATE:       08/07/2019                    TIME:


  COURT ACTION: EO: COURT ORDER DENYING PLAINTIFFS’ EX PARTE
  APPLICATION FOR TEMPORARY RESTRAINING ORDER AND PRELIMINARY
  INJUNCTION WITHOUT PREJUDICE

          On April 4, 2019, Plaintiffs Millennium Funding, Inc., Hunter Killer Productions,
  Inc., and Bodyguard Productions, Inc. (“Moving Plaintiffs”), filed an ex parte application
  for entry of a temporary restraining order, and upon expiration of the temporary
  restraining order (“TRO”), preliminary injunction against Defendants Doe 1 and Doe 2,
  and “Third Party Cloudflare, Inc.” (“Motion”). [Dkt. no. 7 at 2.] On April 15, 2019, this
  Court denied the portion of the Motion seeking a TRO, but reserved ruling on the portion
  of the Motion seeking a preliminary injunction, until the Moving Plaintiffs completed
  service in accordance with Fed. R. Civ. P. 4. [Dkt. no. 16.]

          To date, the Moving Plaintiffs have failed to show proof of service of the Motion.
  The remaining portion of the Motion is therefore DENIED; however, the denial is
  WITHOUT PREJUDICE to the Moving Plaintiffs filing a similar motion at a later date,
  after the completion of service.

         IT IS SO ORDERED.



  Submitted by: Theresa Lam, Courtroom Manager
